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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


    KARRA LINDEMANN

                     Plaintiff,

    v.                                                           Case No. 8:13-cv-1566-T-17TBM

    GC SERVICES LIMITED PARTNERSHIP,

                     Defendant.
                                                           /

                                               ORDER

             THIS MATTER is before the Court on Plaintiff’s Verified Motion to Compel

    Defendant’s Responses to Discovery Requests (Doc. 13) and the parties’ Unopposed

    Motion for a Protective Order on behalf of GC Services, LP (Doc. 15). By the Joint Status

    Report (Doc. 17), the parties represent that they have fully resolved their differences and

    anticipate submitting closing documents within the next thirty days.

             Accordingly, Plaintiff’s Verified Motion to Compel Defendant’s Responses to

    Discovery Requests (Doc. 13) and the parties’ Unopposed Motion for a Protective Order

    on behalf of GC Services, LP (Doc. 15) are DENIED without prejudice. Should the case

    fail to settle, the parties may renew their motions with the Court.

             Done and Ordered in Tampa, Florida, this 31st day of December 2013.




    Copies furnished to:
    Counsel of Record
